    Case: 4:17-cr-00319-RWS Doc. #: 103 Filed: 06/15/20 Page: 1 of 5 PageID #: 341




                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA                                                 )
                                                                         )
           Plaintiff,                                                    )
                                                                         )
v.                                                                       )   No. 4:17CR00319-RWS
                                                                         )
ROBERT COOPER,                                                           )
                                                                         )
           Defendant.                                                    )


          MOTION TO RECONSIDER AND REINSTATE COMPASSIONATE
                RELEASE MOTION DUE TO FACTUAL ERROR

           On May 11, 2020, Robert Cooper moved this Court pro se for a reduction in

the length of his sentence based on “extraordinary and compelling reasons,”

pursuant to18 U.S.C. § 3582(c)(1)(A)(i) (Document #93). On June 9, 2020, counsel

filed a memorandum in support of Mr. Cooper’s motion (Document # 100). On June

11, 2020, the Court denied the motion without prejudice because Mr. Cooper has

failed to exhaust administrative remedies with the BOP before requesting relief

from the Court (Document #102).

           As it turns out, Mr. Cooper had exhausted his administrative remedies with

BOP. On May 1, 2020, Mr. Cooper submitted a request to the institution for

reduction in sentence (“RIS”) pursuant to 18 U.S.C. § 3582. In his request, Mr.

Cooper cited his health conditions, family circumstances, and the Coronavirus

pandemic as reasons for compassionate release.1 Mr. Cooper’s request was denied




1
    Mr. Cooper’s pro se request is attached at the end of this motion.
    Case: 4:17-cr-00319-RWS Doc. #: 103 Filed: 06/15/20 Page: 2 of 5 PageID #: 342




by the BOP on May 22, 2020.2 Unfortunately, counsel did not have these critical

facts at the time he filed the memorandum in support of Mr. Cooper’s request for

compassionate release (Document #100) due to erroneous information provided by

the BOP. In response to direct requests, the BOP advised counsel that Cooper had

not filed a compassionate release request with the BOP. Then, on June 11, 2020,

counsel received a letter from Mr. Cooper that included a copy of the BOP’s denial of

May 22, 2020. Upon receipt of that letter, counsel immediately contacted the

probation officer about this discrepancy who then contacted the BOP. The BOP

confirmed that Mr. Cooper did in fact request compassionate release through the

BOP in May of 2020, as demonstrated in the documents attached to this motion.

           Through no fault of Mr. Cooper, the memorandum (Document #100) filed in

support of his request for compassionate relief lacked critical facts. He asks the

Court to reconsider and reinstate his motions for compassionate release. An

immediate reduction in Mr. Cooper’s sentence to the time already served, resulting

in commencement of supervised release, is warranted under § 3582(c)(1)(A)(i). The

motion for reduction in sentence is well-founded and should be granted for all the

reasons stated in Mr. Cooper’s pro se motion, as well as counsel’s memorandum in

support of his motion.

                                                                Respectfully submitted,

                                                                /s/ Michael P. Mahon
                                                                MICHAEL P. MAHON
                                                                Assistant Federal Public Defender
                                                                1010 Market, Suite 200
                                                                Saint Louis, Missouri 63101

2
    The BOP denial is attached at the end of this motion.

                                                            2
Case: 4:17-cr-00319-RWS Doc. #: 103 Filed: 06/15/20 Page: 3 of 5 PageID #: 343




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                          CERTIFICATE OF SERVICE

I hereby certify that on June 15, 2020, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court’s electronic filing upon the
U.S. Attorney’s Office.

                                              /s/ Michael Mahon

                                              Michael Mahon




                                          3
Case: 4:17-cr-00319-RWS Doc. #: 103 Filed: 06/15/20 Page: 4 of 5 PageID #: 344
Case: 4:17-cr-00319-RWS Doc. #: 103 Filed: 06/15/20 Page: 5 of 5 PageID #: 345
